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                           CIVIL MINUTE ENTRY

BEFORE:                    Magistrate Judge Steven M. Gold

DATE                       November 4, 2019

                           2:30 p.m.
TIME:


DOCKET NUMBER(S):          CV 19-4951 (KAM)



NAME OF CASE(S):
                           Seoul Semiconductor Co., Ltd. et al v. Satco Products, Inc.

FOR PLAINTIFF(S):
                           Eisenberg and Lahav
FOR DEFENDANT(S):
                           Brown, Bornstein, Lynn and Livingston

NEXT CONFERENCE(S):        TELEPHONE CONFERENCE AT
                           2:00 PM ON APRIL 10, 2020
FTR/COURT REPORTER:        N/A

INITIAL CONFERENCE RULINGS:

The case management schedule proposed by the parties is approved.

THE COURT WILL HOLD A TELEPHONE CONFERENCE AT 2:00 PM ON APRIL 10,
2020.

Counsel for defendant will arrange the conference call.

The parties shall be prepared to advise the Court of any discovery or case management
disputes and whether they believe discussions of settlement might be productive.
